Case 22-31641-mvl7             Doc 223      Filed 03/20/23 Entered 03/20/23 15:46:21                     Desc Main
                                           Document     Page 1 of 6



 HUNTON ANDREWS KURTH LLP

 Philip M. Guffy
 600 Travis Street, Suite 4200
 Houston, Texas 77002
 Tel:    713-220-4200
 Fax: 713-220-4285
 Email: pguffy@huntonak.com

     -and-

 Paul N. Silverstein
 Brian Clarke
 200 Park Avenue
 New York, NY 10166
 Tel: (212) 309-1000
 Email: psilverstein@huntonak.com
        brianclarke@huntonak.com

 Special Counsel to UMB Bank, National Association
 as Indenture Trustee, and Counsel to the Majority Noteholder Group

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                             §
 In re:                                                      § Chapter 7
                                                             §
 GOODMAN NETWORKS, INC.,                                     § Case No. 22-31641 (MVL)
                                                             §
                    Debtor.                                  § Relates to Docket No. 214
                                                             §

                   RESPONSE AND OBJECTION TO TRUSTEE’S MOTION
              FOR APPROVAL OF LIMITED COMPROMISE AND SETTLEMENT
             WITH DEBTOR, JOHN GOODMAN, AND GOODMAN MBE GROUP, LP

             UMB Bank, National Association, as indenture trustee (the “Indenture Trustee”) and the

 Majority Noteholder Group,1 for their response and objection (this “Objection”) to the Trustee’s


 1
       The Majority Noteholder Group consists of beneficial holders of a majority of the 8% Senior Secured Notes due
       2022 (the “Notes”) issued by Goodman Networks, Inc., which include petitioning creditors JLP Credit
       Opportunity Master Fund Ltd., JLP Credit Opportunity IDF Series Interests of the SALI Multi-Series Fund, L.P.,
       JLP Institutional Credit Master Fund LP, and Alimco Re Ltd.



 DMS 301559804v4
Case 22-31641-mvl7           Doc 223      Filed 03/20/23 Entered 03/20/23 15:46:21                     Desc Main
                                         Document     Page 2 of 6



 Motion for Approval of Limited Compromise and Settlement with Debtor, John Goodman, and

 Goodman MBE Group, LP [Docket No. 214] (the “Settlement Motion”)2 filed by Scott Seidel as

 chapter 7 trustee (the “Chapter 7 Trustee”) of the estate of Goodman Networks, Inc. (the

 “Debtor”), respectfully represent:

         1.        As indicated at the status conference before this Court on February 15, 2023,

 counsel to the Majority Noteholder Group “orchestrated” the consensual dismissal of the

 Conversion Motion because the costs and time of opposing and defeating such motion were very

 significant to all parties and to this Court. Thus, in exchange for a voluntary dismissal of the

 Conversion Motion by John Goodman, the Majority Noteholder Group was agreeable to having

 the Debtor’s estate release claims against John Goodman and his counsel in the amounts of

 $450,000 and $50,000, respectively, both of which amounts were paid pursuant to the Consulting

 Agreement; provided that John Goodman and his affiliates and cohorts agreed not, in any way, to

 impair, hinder, or prejudice, the Chapter 7 Trustee’s administration of the estate, or any creditor’s

 efforts to maximize the value of the Debtor’s assets, including the value of any collateral security

 held by any creditor. Given the circumstances, and the direction from the Majority Noteholder

 Group, the Indenture Trustee likewise supports a consensual dismissal of the Conversion Motion

 upon the terms and circumstances set forth herein.

         2.        That said, for the reasons set forth below, the limited settlement set forth in the

 Proposed Settlement is not sufficiently limited and does not set forth the terms of the settlement

 sufficiently to warrant support by the Indenture Trustee and the Majority Noteholder Group and

 approval by this Court. Significantly, in paragraph 1 of the Proposed Settlement, the Chapter 7

 Trustee appears to have recognized that the Indenture Trustee and the Majority Noteholder Group


 2
     Capitalized terms used but not defined herein have the meanings given to them in the Settlement Motion.
                                                         2
 DMS 301559804v4
Case 22-31641-mvl7          Doc 223     Filed 03/20/23 Entered 03/20/23 15:46:21             Desc Main
                                       Document     Page 3 of 6



 and other parties and interest would have issues with the Proposed Settlement that needed to be

 addressed: “If the Bankruptcy Court, approves, some, but not all of this Agreement, the Parties

 shall have the option, but not the obligation, to revise the Agreement to conform to the Bankruptcy

 Court’s ruling . . . .”

         3.        For the Indenture Trustee and the Majority Noteholder Group to support the

 Proposed Settlement, and for the same to warrant this Court’s approval, the following matters must

 be revised, so they are crystal clear:

         A.        John Goodman, GMBE, and H&B are only being released for the money they
                   received pursuant to the Consulting Agreement: i.e., the $450,000 paid to John
                   Goodman and the $50,000 paid to H&B. Nothing else should be released under the
                   Proposed Settlement, including, without limitation, releases for any acts or
                   omissions by any party under, or pursuant to, the Consulting Agreement, and
                   otherwise.

         B.        No other parties, including any family members or affiliates of John Goodman, are
                   receiving any release whatsoever.

         C.        John Goodman, and any party working in concert with him, including any of his
                   family members or affiliates, shall not in any way, interfere with or impair, hinder
                   or prejudice, the Chapter 7 Trustee’s administration of the estate, or any creditor’s
                   efforts to maximize the value of the Debtor’s assets, including the value of any
                   collateral security, held by any creditor of the Debtor. This would include all
                   matters relating to the Debtor’s ownership of 19% of Greater Tech Holdings, Inc.,
                   a company majority owned and controlled by John Goodman. If there is any such
                   interference, impairment, or prejudice, then John Goodman would receive no
                   release.

         4.        The Indenture Trustee and the Majority Noteholder Group recognize that the

 general standard for approval of 9019 motion is that the settlement for which approval is being

 sought is within the lowest range of reasonableness. Vaughn v. Drexel Burnham Lambert Group,

 Inc. (In re Drexel Burnham Lambert Group, Inc.), 134 B.R. 499, 505 (Bankr. S.D.N.Y. 1991). As

 a consequence, motions under rule 9019 tend to be approved by courts.

         5.        Here, however, the members of the Majority Noteholder Group who filed the

 involuntary chapter 7 petition against the Debtor and the other joining creditors have been the
                                                3
 DMS 301559804v4
Case 22-31641-mvl7          Doc 223    Filed 03/20/23 Entered 03/20/23 15:46:21           Desc Main
                                      Document     Page 4 of 6



 primary parties litigating the Conversion Motion at considerable time and expense. These

 creditors have the genuine economic stake in the outcome of this matter. As noted above, counsel

 to the Majority Noteholder Group was instrumental in bringing about the withdrawal of the

 Conversion Motion. While the Majority Noteholder Group and other creditors appreciate the

 Chapter 7 Trustee’s efforts here, the Chapter 7 Trustee drafted the Proposed Settlement without

 any input from the Indenture Trustee, the Majority Noteholder Group, or any other creditor. In

 doing so, the Chapter 7 Trustee did not precisely reflect all the terms any settlement requires to

 warrant approval by this Court. The creditors, not the Chapter 7 Trustee, should be given deference

 with respect to important details of this consensual resolution.

         6.        The clarifications to the Proposed Settlement offered by the Indenture Trustee and

 the Majority Noteholder Group are consistent with a consensual resolution of this matter: a

 narrowly tailored release of certain claims against John Goodman and his personal counsel in

 exchange for withdrawal of the Conversion Motion. It would be totally contrary to a consensual

 resolution if John Goodman, having gotten to walk away with the $450,000 he paid himself from

 estate funds, was then able to turn around and impair and frustrate the creditor recoveries and

 efforts to maximize the value of the Debtor’s estate. It should be non-controversial to require John

 Goodman and anyone working in concert with him, as a condition of receiving any release, not to

 undermine, interfere with, or prejudice efforts to maximize the value of the estate’s assets. If he

 does so, there would be no justification to give him a release with respect to a payment he made

 to himself while pursuing his own pecuniary interests.

         7.        To be clear, the Majority Noteholder Group only suggested this settlement

 framework as a way of avoiding the time and expense of litigating a matter on which they believed

 they would ultimately prevail. The value of the claims being released under the Proposed


                                                   4
 DMS 301559804v4
Case 22-31641-mvl7          Doc 223      Filed 03/20/23 Entered 03/20/23 15:46:21                     Desc Main
                                        Document     Page 5 of 6



 Settlement are less than the costs the Majority Noteholder Group and the other creditors would

 incur litigating to conclusion John Goodman’s quest to put a non-operating debtor with no

 prospects of reorganization into chapter 11 under the ultimate control of insiders who looted

 millions of dollars from the company. Significantly, no party in interest other than John Goodman

 and his family members, all likely targets of postpetition litigation, supported the Conversion

 Motion. Accordingly, cause would clearly exist to convert this case back to chapter 7 if it were to

 be converted to chapter 11, which is sufficient to defeat the Conversion Motion.3

         WHEREFORE, the Indenture Trustee and the Majority Noteholder Group respectfully

 request that the Court decline to approve the Proposed Settlement absent the clarifications set forth

 above and grant such other and further relief as may be just and proper.




 3
     See Original Petitioners’ Objection to Debtor’s Motion to Convert Chapter 7 Case to Chapter 11[Docket No.
     150] at 16-23 (citing, inter alia, Marrama v. Citizens Bank of Massachusetts, 549 U.S. 365, 375 (2007); In re
     Daughtrey, 896 F.3d 1255, 1276 (11th Cir. 2018); Dan Thomason & Assocs., LLC v, Breakwell, No. 3:10-CV-
     00379-K, 2010 WL 3385025, at *1 (N.D. Tex. Aug. 25, 2010); In re Euro-Am. Lodging Corp., 365 B.R. 421, 425
     (Bankr. S.D.N.Y. 2007); In re Broad Creek Edgewater, LP, 371 B.R. 752, 758 (Bankr. D.S.C. 2007); In re Eugene
     Alexander, Inc., 191 B.R. 920, 924 (Bankr. M.D. Fla. 1994).
                                                        5
 DMS 301559804v4
Case 22-31641-mvl7       Doc 223    Filed 03/20/23 Entered 03/20/23 15:46:21          Desc Main
                                   Document     Page 6 of 6



 Dated: March 20, 2023                    Respectfully Submitted,
        Houston, Texas
                                          /s/ Philip M. Guffy
                                          Philip M. Guffy (TX Bar No. 24113705)
                                          HUNTON ANDREWS KURTH LLP
                                          600 Travis Street, Suite 4200
                                          Houston, Texas 77002
                                          Tel:    713-220-4200
                                          Fax: 713-220-4285
                                          Email: pguffy@huntonak.com

                                           -and-

                                          Paul N. Silverstein
                                          Brian Clarke
                                          HUNTON ANDREWS KURTH LLP
                                          200 Park Avenue
                                          New York, NY 10166
                                          Tel: (212) 309-1000
                                          Email: psilverstein@huntonak.com
                                                 brianclarke@huntonak.com

                                           Special Counsel to UMB Bank, National Association, as
                                           Indenture Trustee, and Counsel to the Majority
                                           Noteholder Group


                                   CERTIFICATE OF SERVICE

         I certify that on March 20, 2023, I caused a copy of the foregoing document to be served
 by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
 District of Texas and.

                                             /s/ Philip M. Guffy
                                             Philip M. Guffy




                                                   6
 DMS 301559804v4
